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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


JONATHAN ONEIL MAYO,

       Petitioner,

                                                                     Civil Action No. 3;18CV231


MARK HERRING,

       Respondent.

                                  MEMORANDUM OPINION

       Petitioner, a Virginia state prisoner proceeding pro se^ submitted a 28 U.S.C. § 2254

petition. By Memorandum Order entered on October 9,2018, the Court directed Petitioner to

show good cause as to why the action should not be dismissed for failure to exhaust his state

court remedies. On October 18, 2018,the United States Postal Service returned the October 9,

2018 Memorandum Order to the Court marked,"NOT IN OUR FACILITY." Since that date.

Petitioner has not contacted the Court to provide a current address. Petitioner's failure to keep

the Court advised as to his current address indicates his lack ofinterest in prosecuting the action.

Accordingly, the action will be DISMISSED WITHOUT PREJUDICE. A certificate of

appealability will be DENIED.

       An appropriate Order shall accompany this Memorandum Opinion.




                                                              M. HannaH L u [qjc
                                                             United States'District Judge
Date: NOV 1 9 2018
Richmond, Virginia
